      Case 1-18-46704-ess             Doc 34       Filed 08/19/19    Entered 08/19/19 11:38:08




 UNITED STATES BANKRUPTCY COURT                                     Hrg. Date: Sept. 10, 2019
EASTERN DISTRICT OF NEW YORK                                        Time: 9:30 a.m
--------------------------------------------------------X
In re

WANDA DOBBINS,                                                      Case No. 18-46704-ess

                                    Debtor.
--------------------------------------------------------X           Chapter 11

     NOTICE OF HEARING ON THE MOTION OF ORTIZ & ORTIZ, L.L.P.,
 PURSUANT TO LOCAL RULE 2090-1, TO WITHDRAW AS DEBTOR’S COUNSEL

        PLEASE TAKE NOTICE, that upon the annexed Motion dated August 14, 2019 (the
“Motion”), of Ortiz & Ortiz LLP (the “O & O”) the undersigned will move before the Honorable
Elizabeth S. Stong, United States Bankruptcy Judge, in the United States Bankruptcy Court of
the Eastern District of New York, 271-C Cadman Plaza East, Brooklyn, New York 11201, on
the 10ST day of September 2019 (the “Hearing Date”), at 9:30 a.m., or as soon thereafter as
counsel may be heard, for the entry of an order pursuant to Local Bankr. Rule 2090-1 to permit O
& O to withdraw as the above-captioned Debtor’s counsel. O & O may request such other and
further relief as is just and equitable at the hearing.
        PLEASE TAKE FURTHER NOTICE, that you need not appear at the aforesaid
hearing if you do not object to the relief requested in the Motion.
        PLEASE TAKE FURTHER NOTICE, that any response to the Motion must (a) be in
writing and (b) must be filed with the Clerk of the Bankruptcy Court electronically at
www.nyeb.uscourts.gov. If you do not have the ability to file a response electronically, the
response may be filed with the Clerk of the Court by presenting the Clerk with a copy of the
response by seven (7) days prior to the Hearing Date. A copy of the response must be
provided to (a) the Chambers of the Honorable Elizabeth S. Stong and (b) Ortiz & Ortiz, L.L.P.,
32-72 Steinway Street, Ste. 402, Astoria, New York 11103, so as to be received no later than
seven (7) days before the hearing. The response must comply with the Bankruptcy Rules and the
local rules of the Court and must state with particularity the legal and factual bases for the
response.

Dated: Astoria, New York
       August 14, 2019
                                                             /s/Norma E. Ortiz
                                                            Norma E. Ortiz
                                                            Ortiz & Ortiz, L.L.P.
                                                            32-72 Steinway Street, Ste. 402
                                                            Astoria, New York 11103
                                                            Tel. (718) 522-1117
                                                            Pro Se
